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 7                            IN THE UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                             CASE NO. CR F 11-017 LJO
11                          Plaintiff,
12          vs.                                            ORDER ON DEFENDANT’S MOTIONS IN
                                                           LIMINE; SEPTEMBER 10, 2012 HEARING
13                                                         VACATED
     JORGE REYNA,
14
                            Defendant.
15
                                                /
16
17          The Court has received, read and considered the Defendant's Motions and Supplemental Motions
18   in Limine, along with the responsive papers from the Government. The Court has received no Motions
19   from the Government. The motions are straightforward and clear. The Court needs no oral argument
20   on the motions, so the hearing set for September 10, 2012 at 11:00 a.m. is hereby VACATED.
21          The Court has already ruled on the defense motion to suppress the EDCA 10-18-10 search
22   warrant (Denial on August 30, 2012), and now rules as follows on the other pending motions:
23   I. Limited Voir Dire
24          Counsel may submit written questions it is requesting the Court to ask, and the Court will ask
25   what it deems appropriate from that list. In addition, Counsel will each get ten minutes to ask new or
26   follow-up questions to the panel.
27   II. Exclusion of FRE 404(b) Evidence
28          Granted, unless 404(b) rebuttal evidence is appropriate.

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 1   III. Expert Testimony Exclusion
 2            Denied. Unless the Government's representation that they provided the FRCrP 16(d)(2)(c)
 3   information is incorrect, such information sent on August 20, 2012 for an October 2, 2012 trial is
 4   sufficient and timely notice.
 5   IV. Exclude Lay Witnesses Who Have Undisclosed Criminal Records from Testifying
 6            Denied, as long as the information is provided to defense counsel in writing at least ten (10)
 7   calendar days before trial.
 8   V. Exclusion of Undisclosed Rule 16 Evidence
 9            The motion is vague because it is overly broad. Denied. That said, it is of concern to the Court
10   that the Government, in its response, states at 3:22: "The Government has provided the defendant with
11   copies of the majority of evidence intended for use at trial in this case." (emphasis added). To avoid
12   delay at trial, the Government is to provide the minority of evidence (i.e. the rest of it) it intends to use
13   at trial, within seven calendar days of this order.
14   VI. Laying the Foundation Process Outside the Presence of the Jury
15            While the meet and confer order issued on August 30, 2012 should take care of this concern in
16   its entirety, should this issue nonetheless remain: the motion is Denied. There is no reason to believe
17   that handling of foundational evidentiary concerns cannot occur in front of the jury before the
18   intercepted or recorded communications are received into evidence.
19   VII. Exclusion of Evidence from GPS Device Processes
20            Since such evidence was not preserved, this motion is moot.
21
22            IT IS SO ORDERED.
23   Dated:      August 31, 2012                        /s/ Lawrence J. O'Neill
     b9ed48                                         UNITED STATES DISTRICT JUDGE
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